             Case 1:21-vv-00177-UNJ Document 11 Filed 05/25/21 Page 1 of 1




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-177V
                                          UNPUBLISHED


    JULIA SHATLOCK,                                             Chief Special Master Corcoran

                          Petitioner,                           Filed: April 28, 2021
    v.
                                                                Voluntary dismissal; Order
    SECRETARY OF HEALTH AND                                     concluding proceedings; duplicate
    HUMAN SERVICES,                                             petition.

                         Respondent.



                             ORDER CONCLUDING PROCEEDINGS1

       On January 7, 2021, Julia Shatlock filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa—10 through 34.2
Petitioner alleged that she suffered an adverse reaction to an influenza vaccination that
she received on October 3, 2019. Petition at 1. On April 27, 2021, Petitioner filed a joint
stipulation to voluntarily dismiss this case.

      In light of Petitioner’s “stipulation of dismissal signed by all parties who have
appeared in the action” pursuant to Vaccine Rule 21(a)(1)(B), this case is dismissed
without prejudice.

IT IS SO ORDERED.

                                                     s/Brian H. Corcoran
                                                     Brian H. Corcoran
                                                     Chief Special Master




1 Although I have not formally designated this Order for publication, I am required to post it on the United
States Court of Federal Claims' website because it contains a reasoned explanation for the action in this
case, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Order will be available
to anyone with access to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, I agree that the identified material fits within this definition,
I will redact such material from public access.

2   National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
